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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,    )
                             )
            Plaintiff,       )
                             )
        vs.                  )   CASE NO.: 1:21-CR-35 (EGS)
                             )
JACK WADE WHITTON,           )
                             )
            Defendant.       )
                             )
                     JOINT STATUS REPORT

         Per the Court’s April 7, 2021 Minute Order requesting mutually available

dates to reschedule the April 12, 2021 hearing on the Government’s Motion To

Revoke Judge Canon’s Release Order, the parties submit the following to the

Court:

         - Mr. Whitton is still being held in Lovejoy, Georgia and the parties are

            prepared to proceed on April 12, 201 via video-conference if the Court is

            inclined to hold this hearing as scheduled.

         - Inasmuch as the parties do not know how long it will take for Mr.

            Whitton to be transferred to this District, Mr. Whitton filed an unopposed

            motion to delay his transport to this District until the Court could rule on

            the government’s Motion, which the Court granted today. (Docs. 42, 43)
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      - Should this Court not wish to go forward on the 12th with the hearing as

         scheduled, then the parties will be prepared to proceed with this hearing

         via video-conference at any time that is convenient for the Court, with

         the exception of the mornings of April 13 and 14, 2021, when counsel for

         the government and undersigned counsel have previously scheduled

         Court appearances.

This, the 8th day of April, 2021.

                                Respectfully submitted,

                                s/ Benjamin Black Alper
                                BENJAMIN BLACK ALPER
                                Georgia Bar No. 940406
                                Attorney for Defendant Jack Wade Whitton

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UNITED STATES OF AMERICA,               )
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                                        )
JACK WADE WHITTON,                      )
                                        )
                     Defendant.         )
                                        )

                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that the above date, I electronically filed this

document with the Clerk of Court using the CM/ECF system which will

automatically send email notification of such filing to all attorneys of record.

This, the 8th day of April, 2021.

                                  Respectfully submitted,

                                  s/ Benjamin Black Alper
                                  BENJAMIN BLACK ALPER
                                  Georgia Bar No. 940406
                                  Attorney for Defendant Jack Wade Whitton

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